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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS
________________________________________________
JEFFREY T. WORTHLEY,                                      )
       Plaintiff,                                         )
                                                          )
VS.                                                       ) C.A. NO. 1:22-cv-12060-DJC
                                                          )
SCHOOL COMMITTEE OF GLOUCESTER;                           )
 and BEN LUMMIS, in his official and personal capacities, )
       Defendants.                                        )

                                  AFFIDAVIT OF JAMES COOK,
                            PRINCIPAL OF GLOUCESTER HIGH SCHOOL

           I, James Cook, Principal of Gloucester High School, hereby state the following:

       1. I am Principal of Gloucester High School, a public school within Gloucester Public

           Schools. I have served in this role since July 1, 2016. As Principal, I am responsible for

           student learning and growth, student safety and wellbeing, supervision and evaluation of

           staff, management of the school building, management of the school budget, partnerships

           with parents, guardians, and community members, and other functions of the school

           necessary to achieve the school's mission.

       2. Gloucester High School teaches students in grades nine through twelve. Current student

           enrollment is approximately 812. Gloucester High School is located at 32 Leslie O.

           Johnson Rd., Gloucester, MA 01930.

       3. On Tuesday, November 8, 2022, at approximately 11:13 P.M., the mother of a

           sixteen-year-old Gloucester High School student, Jane Doe, contacted me in reference to

           an incident which occurred during a bake sale held at Gloucester High School earlier that

           day.1




1
    To protect the student’s identity, I will refer to her only by the pseudonym, “Jane Doe.”
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4. Jane Doe’s mother informed me that the plaintiff, City Councilor Jeff Worthley,

   approached Jane Doe at the bake sale and began talking to her about student council and

   City politics.

5. Jane Doe’s mother informed me that Mr. Worthley introduced himself, but did not specify

   exactly what he did within the City. Jane Doe’s mother further informed me that Jane

   Doe believed that Mr. Worthley was the Mayor of the City of Gloucester. Jane Doe’s

   mother explained to her daughter that Mr. Worthley was a member of the City Council.

6. According to Jane Doe’s mother, Mr. Worthley wanted Jane Doe’s opinion on beginning

   a student government for the City, and asked for her cell phone number so that he could

   send some ideas to her.

7. Believing he was the Mayor, Jane Doe provided her cell phone number to Mr. Worthley.

8. Jane Doe’s mother informed me that, following the bake sale, Mr. Worthley texted Jane

   Doe a lengthy text outlining his ideas. Jane Doe’s mother informed me that Mr. Worthley

   “was really leaning into [Jane Doe] to take the lead and solicit other students to join his

   cause.” According to Jane Doe’s mother, Mr. Worthley’s request made her, as well her

   daughter, feel very uncomfortable.

9. Jane Doe’s mother informed me that she instructed her daughter to text Mr. Worthley

   back, and to politely decline his request.     After Jane Doe declined Mr. Worthley’s

   invitation to participate, Mr. Worthley was persistent and did not take “no” for an answer.

10. Jane Doe’s mother informed me that they (Jane Doe’s mother and father) do not want

   their daughter to have any further communication with Ms. Worthley, as they believe his

   interactions with their daughter were “very unprofessional and borderline inappropriate.”

   Jane Doe’s mother stated that her daughter felt embarrassed and remorseful because she
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   thought Mr. Worthley was the Mayor. Jane Doe’s mother further explained that her

   daughter “feels very, very uncomfortable and caught off guard by him as what he texted

   her doesn’t match up with what he discussed with her at the bake sale.”

11. On Wednesday, November 9, 2022, I met with Jane Doe before school began. Jane Doe

   shared with me what took place at the bake sale on November 8, 2022. Specifically, she

   told me that Mr. Worthley approached her and spoke with her during the bake sale at

   Gloucester High School, which took place just outside the Field House which was

   serving as a voting location. She told me that Mr. Worthley spoke with her about

   engagement in City and school issues. She told me that Mr. Worthley suggested to her

   that he could help support her work in student government by helping her with resources.

   She told me that she believed he was speaking in his official capacity as an elected

   official. She told me that for this reason she gave Mr. Worthley her cell phone number,

   which she later regretted. She told me that she later remembered that Mr. Worthley did

   not speak with a peer also present at the bake sale. She told me that Mr. Worthley texted

   her, and she showed me the text exchange with Mr. Worthley. She expressed being

   troubled by Mr. Worthley's insistent response to her despite the fact that she politely

   declined to engage with him further. She expressed to me that she was also troubled by

   his disclosure of personal information about staying up late and waking up early.

12. During that conversation, Jane Doe showed a keen understanding of the power dynamic

   in the interaction with Mr. Worthley and what aspects of the interaction were not

   appropriate.   I told Jane Doe that I would be following up with Superintendent Ben

   Lummis. On November 9, 2022, I advised Superintendent Ben Lummis of the details of

   my communications with Jane Doe and her mother.
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   13. Jane Doe’s mother emailed me on Wednesday, November 9, 2022, thanking me for my

       understanding and attention to their concerns, and indicating that they are taking this very

       seriously.



Signed under the pains and penalties of perjury this 20th day of December, 2022.



                                             __________________________________
                                             James Cook
                                             Principal – Gloucester High School
                                             Gloucester Public Schools
